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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                   Case No. 1:07-cr-158
                                    )
v.                                  )                   Honorable Paul L. Maloney
                                    )
MARIO ACEVEDO,                      )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

                 Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on September 28, 2007, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Mario Acevedo entered a plea of guilty to the Superseding Indictment. The

Superseding Indictment charges the defendant with distribution of 100 kilograms or more of a

mixture or substance containing a detectable amount of marijuana, a Schedule I controlled substance,

in violation of Title 21, U.S.C., §§ 846, 841(a)(1) and 841(b)(1)(B)(vii). On the basis of the record

made at the hearing, I find that defendant is fully capable and competent to enter an informed plea;

that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.
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               I therefore recommend that defendant's plea of guilty to the Superseding Indictment

be accepted, and that the court adjudicate defendant guilty. It is further recommended that the order

setting conditions of defendant's release remain in effect pending sentencing. Acceptance of the plea,

adjudication of guilt, and imposition of sentence are specifically reserved for the district judge. The

clerk is directed to procure a transcript of the plea hearing for review by the District Judge.



Date: October 1, 2007                                   /s/ Timothy P. Greeley
                                                       TIMOTHY P. GREELEY
                                                       United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d).




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